Dear Secretary Carnahan:
This opinion letter responds to your request dated March 13, 2009, for our review under Section 116.334, RSMo, of a proposed summary statement prepared for the petition (version 3) submitted by Todd Jones regarding a proposed constitutional amendment related to Article III. The proposed summary statement is as follows:
  Shall the Missouri Constitution be amended to make it illegal for the legislature or state or local governments to expend, pay, or grant public funds to hospitals or other institutions for certain research, as defined by the general assembly in section 196.1127, Revised Statutes of Missouri 2003, including certain types of stem cell research currently allowed under Missouri law?
Pursuant to Section 116.334, RSMo, we approve the legal content and form of the proposed statement. Because our review of the statement is mandated by statute, no action that we take with respect to such review should be construed as an endorsement of the petition, nor as the expression of any view regarding the objectives of its proponents.
Very truly yours,
                     _________________________ CHRIS KOSTER Attorney General *Page 1 